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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
CDSs
LATESHA WATSON Case No.: 2:20-cv-01761 =*eP6 BNW
Plaintiff Order Approving STIPULATION TO
CONTINUE HEARING RE:
v. DEFENDANT KEVIN ABERNATHY’S
MOTION TO DISMISS; DEFENDANT
CITY OF HENDERSON; KEVIN CITY OF HENDERSON’S MOTION FOR
ABERNATHY; DOES I through X, SUMMARY JUDGMENT;
inclusive, DEFENDANTS’ MOTION TO STRIKE

AND EVIDENTIARY HEARING

FIRST T
Defendants (FIRST REQUEST)

[ECF No. 252]

Plaintiff, LaTesha Watson (“Watson”) by and through counsel of record, Marc P. Cook, Esq.
of the law firm of COOK & KELESIS, LTD.; Defendant, Kevin Abernathy, by and through counsel
of record, Nicholas M. Wieczorek, Esq. of the law firm of CLARK HILL PLLC; and Defendant City
of Henderson, by and through counsel of record, Patrick G. Byrne, Esq. of the law firm of SNELL
& WILMER LLP, hereby stipulate and agree that oral argument on Defendant Kevin Abernathy’s
Motion to Dismiss [ECF 229]; Defendant City of Henderson’s Motion for Summary Judgment [ECF
246]; Defendants’ Motion to Strike [ECF 247] and the Daubert Evidentiary Hearing set with the
Court’s Minute Order in Chambers [ECF 251] currently set for December 10, 2024 at 10:00 a.m.,
shall be continued to February 4, 2025 at 1:00 p.m.

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This request is necessary to accommodate the availability of Plaintiff's expert witness,

Dominique Day, for the Daubert evidentiary hearing as well as the respective schedules of counsel

for all parties, and is made in good faith and not for the purposes of delay.

DATED this 6th day of December, 2024.

COOK & KELESIS, LTD.

By: Marc Cook/s
MAKC P. COOK, ESQ.
Nevada Bar No. 004574
JULIE L. SANPEI, ESQ.
Nevada Bar No. 005479
517 South Ninth Street
Las Vegas, Nevada 89101
Attorneys for Plaintiff, Latesha Watson

DATED this 6th day of December.

By:___ Richard Gordon /s
PATRICK G. BYRNE, ESQ.
Nevada Bar No. 007636
RICHARD C. GORDON, ESQ.
Nevada Bar No. 009036
CHRISTIAN OGATA, ESQ.
Nevada Bar No. 015612

DATED this 6th day of December, 2024.
CLARK HILL PLLC

By: Nicholas Wieczorek /s
NICHOLAS M. WIECZOREK, ESQ.
Nevada Bar No. 006170
GIA N. MARINA, ESQ. 015276
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3800 Howard Hughes Parkway, Suite 500
Las Vegas, Nevada 89169
Attorney for Defendants Kevin Abernathy

3883 Howard Hughes Parkway, Suite 1100

Las Vegas, Nevada 89169
Defendants City of Henderson

ORDER

Based on the parties’ stipulation [ECF No. 252], the December 10, 2024, hearing is

vacated and continued to February 4, 2025,

Dated: December 9, 2024

at 1:00 p.m. in LV Courtroom 6B.
*)

f
/

“ye District Judge

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